Case 2:18-cv-03893-RGK-AGR Document 21 Filed 06/04/18 Page 1 of 5 Page ID #:66




 1   Alfredo Torrijos
     alfredo@aswtlawyers.com
 2   Mike M. Arias
     mike@aswtlaw.com
 3   Arias Sanguinetti Wang andth Torrijos LLP
     6701 Center Drive West 14 Floor
 4   Los Angeles, CA 90045
     Telephone: (310) 844-9696
 5   Facsimile: (310) 861-0168
 6
     [Additional counsel appearing on signature page]
 7

 8   Attorneys for Plaintiff Edwardo Munoz, and the alleged Class
 9

10                         UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
11
                                WESTERN DIVISION
12

13
     Edwardo Munoz, individually and on          Case No. 18-cv-03893-RGK-AGR
     behalf of all others similarly situated,
14                                               STIPULATION FOR
15
                       Plaintiff,                EXTENSION OF TIME FOR
                                                 DEFENDANT TO ANSWER OR
16                         v.                    OTHERWISE RESPOND TO
17                                               PLAINTIFF’S COMPLAINT,
     7-Eleven, Inc.,                             AND TO VACATE THE L.R. 23-3
18                                               DEADLINE FOR PLAINTIFF TO
19                  Defendant.                   MOVE FOR CLASS
                                                 CERTIFICATION
20
                                                 Complaint served:      May 15, 2018
21                                               Current response date: June 5, 2018
22                                               New response date: July 5, 2018

23                                               Case Filed: May 9, 2018
24

25

26

27

28
Case 2:18-cv-03893-RGK-AGR Document 21 Filed 06/04/18 Page 2 of 5 Page ID #:67




 1         Plaintiff Edwardo Munoz (“Plaintiff” or “Munoz”) and Defendant 7-Eleven,
 2   Inc. (“Defendant” or “7-Eleven”) by and through their respective counsel of record,
 3   hereby stipulate as follows:
 4         WHEREAS, Plaintiff filed this action on May 9, 2018 (Dkt. 1);
 5         WHEREAS, Defendant was served on May 15, 2018 and has a current
 6   deadline of June 5, 2018 to Answer or otherwise respond to the Complaint;
 7         WHEREAS, 7-Eleven requests, and the Parties stipulate to, an extension of
 8   thirty (30) days, or up to and including July 5, 2018, in which to answer or
 9   otherwise respond to the Complaint. This request is brought in good faith and not
10   meant for improper delay of this proceeding. 7-Eleven recently retained the
11   undersigned counsel for this action and will use the additional time to review the
12   allegations in the Complaint and draft an appropriate response.
13         WHEREAS, under Local Rule 23-3, Plaintiff must move for class
14   certification within ninety (90) days after serving the Complaint. See Rocha v.
15   Toshinoya West, Inc., 2007 WL 8398819 (C.D. Cal. Jan. 8, 2007), Plaintiff’s
16   deadline for moving for class certification is currently August 13, 2018.
17         WHEREAS, the deadline may be moved by Order of the Court. See L.R. 23-
18   3.
19         WHEREAS, no discovery has begun in the case, which Plaintiff will require
20   to sufficiently file a Motion for Class Certification. Indeed, Defendant has not yet
21   answered and, pursuant to this stipulation, will not do so until just over a month
22   before the current Local Rule 23-3 deadline. Thus, the Parties stipulate that the
23   Court vacate and continue the deadline for Plaintiff to move for class certification at
24   this time. When the Parties file a Case Management Statement, the Parties will each
25   set forth their positions with respect to the case schedule, including new proposed
26

27

28
                                    Stipulation for Extension of Time
                                                  -2-
Case 2:18-cv-03893-RGK-AGR Document 21 Filed 06/04/18 Page 3 of 5 Page ID #:68




 1   deadlines for a period of class discovery and the filing and briefing of a motion for
 2   class certification.
 3          NOW, THEREFORE, based on the above stipulation, the Parties respectfully
 4   ask the Court to enter an Order:
 5          1.     Extending the deadline for Defendant to Answer or otherwise respond
 6   to the Complaint to July 5, 2018; and
 7          2.     Vacating the current class certification deadline, with a new date to be
 8   established after the Parties submit their Case Management Statement.
 9                                      Respectfully submitted,
10
                                        EDWARDO MUNOZ, individually and on behalf
11                                      of all others similarly situated,
12
     Dated: June 4, 2018                By:  /s/ Patrick H. Peluso
13                                           Patrick H. Peluso
14                                      One of Plaintiff's Attorneys

15                                      Alfredo Torrijos
                                        alfredo@aswtlawyers.com
16                                      Mike M. Arias
                                        mike@aswtlaw.com
17                                      Arias Sanguinetti Wang andth Torrijos LLP
                                        6701 Center Drive West 14 Floor
18                                      Los Angeles, CA 90045
                                        Tel: (310) 844-9696; Fax: (310) 861-0168
19
                                        Steven L. Woodrow
20
                                        (swoodrow@woodrowpeluso.com)*
21                                      Patrick H. Peluso
                                        (ppeluso@woodrowpeluso.com)*
22
                                        Woodrow & Peluso, LLC
23                                      3900 East Mexico Ave., Suite 300
                                        Denver, Colorado 80210
24
                                        Tel: (720) 213-0675; Fax: (303) 927-0809
25
                                        Counsel for Plaintiff and the Putative Class
26
                                        *pro hac vice
27

28
                                    Stipulation for Extension of Time
                                                  -3-
Case 2:18-cv-03893-RGK-AGR Document 21 Filed 06/04/18 Page 4 of 5 Page ID #:69




 1
                                           7-ELEVEN, INC.

 2   Dated: June 4, 2018                   By: /s/ Julie R. Trotter1
 3                                         Julie R. Trotter

 4                                         Julie R. Trotter, Bar No. 209675
 5                                         jtrotter@calljensen.com
                                           Call & Jensen, APC
 6                                         610 Newport Center Drive, Suite 700
 7                                         Newport Beach, CA 92660
                                           Tel: (949) 717-3000; Fax: (949) 717-3100
 8

 9                                         Attorneys for Defendant 7-Eleven, Inc.

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
     1
26     I hereby certify that the content of this document is acceptable to Patrick H. Peluso, one of the
     attorneys for Plaintiff and the Putative Class, and that I have obtained Mr. Peluso’s authorization
27   to affix his electronic signature to this document.
28
                                        Stipulation for Extension of Time
                                                      -4-
Case 2:18-cv-03893-RGK-AGR Document 21 Filed 06/04/18 Page 5 of 5 Page ID #:70




 1                            CERTIFICATE OF SERVICE
 2         The undersigned, Julie R. Trotter, hereby certifies that a true and correct copy
 3   of the above document was served upon counsel of record by filing such papers via
 4   the Court’s ECF system on June 4, 2018.
 5
                                                       /s/ Julie R. Trotter
                                                       Julie R. Trotter
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                   Stipulation for Extension of Time
                                                 -5-
